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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
                                                                    :   DATE FILED: March 1, 2018
 LONG PAINTING COMPANY,                                             :
                                                                    :
                                              Plaintiff,            :
                            -v-                                     :
                                                                    :         17-cv-9975 (KBF)
 GENERAL ELECTRIC COMPANY and                                       :
 ALSTOM RENEWABLE US LLC,                                           :              ORDER
                                                                    :
                                              Defendants.           :
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KATHERINE B. FORREST, District Judge:

        It is hereby ORDERED that this case is referred for mediation to the Court-

annexed Mediation Program. The parties are hereby notified that Local Rule 83.9

shall govern the mediation and are directed to participate in the mediation in good

faith. The mediation shall have no effect upon the Scheduling Order issued by this

Court; the litigation schedule shall proceed in parallel with the litigation schedule.

SO ORDERED.

Dated:           New York, New York
                 March 1, 2018

                                                         ____________________________________
                                                               KATHERINE B. FORREST
                                                               United States District Judge
